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14                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
15                                SAN FRANCISCO DIVISION

16
     UNITED STATES OF AMERICA,                      No.: 14-CR-00175-WHA
17
               Plaintiff,                           DECLARATION OF FRANK M.PITRE
18
                                                    IN SUPPORT OF ATTORNEYS PITRE
19    vs.                                           AND CAMPORA'S COMMENTS ON THE
                                                    ACCURACY OF PGi&E'S RESPONSE
20   PACIFIC OAS AND ELECTRIC
     COMPANY,                                       Judge: Hon. William Alsup
21
               Defendant.
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            DECLARATION OF FRANK M.PITRE IN SUPPORT OF ATTORNEYS PITRE AND CAMPORA'S
                COMMENTS ON THE ACCURACY OF PG&E'S RESPONSE - No.: 14-CR-00175-WHA
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 1   I, Frank M.Pitre, hereby declare under penalty of perjury:

2            1.     I am a member of the Law Firm of Cotchett, Pitre & McCarthy LLP. I have been

 3   involved with litigation on behalfof wildfire and gas transmission explosion victims against Pacific
4    Gas and Electric Company, since 2010. I have taken the deposition of more than 150 Pacific Gas

5    and Electric Company officers and employees since 2010. I was lead counsel in: the San Bruno

6    Explosion litigation; the derivative action against the Board of Directors; and presently serve as co-

7    lead counsel for the North Bay Fires JCCP. I was also involved as co-liaison counsel for the Butte
8    Fire JCCP and served on the Executive Committee.

9           2.      I have reviewed thousands of Pacific Gas and Electric Company documents

10   produced in litigation and I have deposed at least 50 witnesses on Pacific Gas and Electric Company
11   vegetation management practices. In connection with my leadership responsibilities in prosecuting

12   the foregoing cases against PG&E,I have conducted extensive research and investigation ofindustry

13   practices and procedures for risk management and process safety. Additionally, I have consulted a

14   number of experts to develop an understanding of various factors contributing to safety and
15   prevention of wildfires. Some of the industry source materials that I have relied upon for purposes

16   of preparing this submission are identified below. In my opinion, the source materials are
17   trustworthy, reliable, and probative ofthe matters that are relevant to this Court's inquiry.

18          3.      In February 2019,1 accessed from the SF Gate website an article at the following

19   web address: https://www.sfgate.com/news/article/PG-E-Guilty-In-1994-Sierra-Blaze-739-counts-
20   of-2821364.php. I have attached a true and correct copy as Exhibit 1.

21          4.      In February 2019,1 accessed from the KQED website an article at the following

22   web address: https://www.kqed.0rg/news/l0687032/utilities-urged-to-step-up-fire-prevention-

23   long-before-deadly-blaze. I have attached a true and correct copy as Exhibit 2.

24          5.      In February 2019,1 accessed the CAL FIRE website incident information for the

25   Poe Fire at the following web address: http://www.fire.ca.gov/cdf/incidents/Poe%20Fire_59/

26   incident_info. I have attached a true and correct copy as Exhibit 3.

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           DECLARATION OF FRANK M. PITRE IN SUPPORT OF ATTORNEYS PITRE AND CAMPORA'S
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 1          6.      In February 2019,1 accessed from The Mercury News website an article at the
2    following web address: https://www.mercurynews,coni/2018/l 1/19/pge-transmission-line-eyed-in-
3    camp-fire-had-collapsed-during-2012-storm/. I have attached a true and correct copy as Exhibit 4.
4           7.      In February 2019,1 accessed from the SF Gate website an article at the following

 5   web address: https://www.sfgate.com/news/article/PG-B-settles-forest-fire-suits-for-29-5-million-

6    340779l.php. I have attached a true and correct copy as Exhibit 5.

7           8.      In February 2019,1 accessed from the SF Gate website an article at the following
 8   web address: https://www.sfgate.com/news/article/PG-amp-E-contractor-settles-fire-case-

9    4584565.php. I have attached a true and correct copy as Exhibit 6.

10          9.      In February 2019,1 accessed from the CAL FIRE website incident information for
11   the Whiskey Fire at the following web address: http://cdfdata.fire.ca.gov/incidents/incidents_

12   details_info?incident_id=274. I have attached a true and correct copy as Exhibit 7.

13          10.     In February 2019,1 accessed from the KQED website an article at the following

14   web address: https://www.kqed.0rg/news/l0687032/utilities-urged-to-step-up-fire-prevention-

15   long-before-deadly-blaze. I have attached a true and correct copy as Exhibit 8.

16          11.     In February 2019,1 accessed from CAL FIRE a map titled "Fire Perimeters:

17   Wildfires 1950-2017" at the follov^ng web address: https://frap.fire.ca.gov/data/frapgismaps/

18   pdfs/firep_l7_map.pdf. I have attached a true and correct copy as Exhibit 9.

19          12.     In February 2019,1 accessed from CAL FIRE for Wildfire Activity Statistics

20   reports at the following web address: http://www.fire.ca.gov/fire_protection/fire_

21   protection_fire_info_redbooks. In these reports, CAL FIRE publishes a list ofthe top five most
22   destructive vidldfires that year. I reviewed this top five list for the years 1990 through 2010, which

23   revealed the following conclusions. A wildfire in Northern California and within PG&E's service

24   territory made the top five list every year but one year. In nine of the twenty years examined,a

25   Northern California wildfire in a PG&E service territory was the most destructive wildfire ofthe

26   year. In six ofthe twenty years examined, powerlines and/or power were the determined cause of

27   one ofthe top five most destructive wildfires that year. And in all six instances, the wildfires were

28   in Northern California and within PG&E's service territory.
                                                       3
           DECLARATION OF FRANK M.PITRE IN SUPPORT OF ATTORNEYS PITRE AND CAMPORA'S
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 1          13.     In February 2019,1 accessed from CAL FIRE the Top 20 Largest California

2    Wildfires (http://www.fire.ca.gov/communications/downloads/fact_sheets/Top20_Acres.pdf) and

3    the Top 20 Most Destructive California Wildfires(http://www.fire.ca.gov/commimications/
4    downloads/ fact_sheets/Top20_Destruction.pdf). True and correct copies are Exhibit 10.
5           14.     In February 2019,1 accessed from the CAL FIRE website the Sonoma-Lake-Napa-

6    Solano 2005 Fire Management Plan at the following web address: http://cdfdata.fire.ca.gov/pub

7    /fireplan/fpupload/fpppdfl07.pdf. I have attached a true and correct copy as Exhibit 11.
8           15.     In February 2019,1 accessed from the CAL FIRE website the Butte 2005 Fire

9    Management Plan at the following web address: http://cdfdata.fire.ca.gov/pub/fireplan/fpupload/
10   fpppdf261.pdf. I have attached a true and correct copy as Exhibit 12.
11          16.     In February 2019,1 accessed from the CAL FIRE website the Mendocino 2005 Fire

12   Management Plan at the following web address:_http://cdfdata.fire.ca.gov/pub/fireplan/f]3upload/
13   ^ppdf66.pdf. I have attached a true and correct copy as Exhibit 13.

14          17.     In February 2019,1 accessed from the CAL FIRE website the Tuolumne-Calaveras
15   2005 Fire Management Plan at the following web address:_http://cdfdata.fire.ca.gov/pub/fireplan/

16   fpupload/fpppdfl21.pdf. I have attached a true and correct copy as Exhibit 14.

17          18.     In February 2019,1 accessed from the CPUC Resolution ESRB-4 at the following
18   web address:_http://docs.cpuc.ca.gov/PublishedDocs/Published/G000/M096/K415/96415169.pdf.
19   I have attached a true and correct copy as Exhibit 15.

20          19.     In February 2019,1 accessed from the Executive Department ofthe State of

21   California the Proclamation of a State of Emergency at the following web address:

22   https://www.gov.ca.gov/wp-content/uploads/2017/09/10.30.15_Tree_Mortality

23   _State_of_Emergency.pdf. I have attached a true and correct copy as Exhibit 16.

24          20.     In February 2019,1 accessed from the CPUC the CPUC Fact Sheet-PG&E
25   Vegetation Management Spending at the following web address:
26   http://www.cpuc.ca.gov/uploadedFiles/CPUC_Public_Website/Content/Safety/PGE%20Vegetatio
27   n%20Management%20Spending.pdf. I have attached a true and correct copy as Exhibit 17.
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          DECLARATION OF FRANK M.PITRE IN SUPPORT OF ATTORNEYS PITRE AND CAMPORA'S
              COMMENTS ON THE ACCURACY OF PG&E'S RESPONSE - No.: 14-CR-00175-WHA
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 1          21.     In February 2019,1 accessed from CAL FIRE the 2010 Strategic Fire Plan for
2    California at the following web address: http://cdfdata.fire.ca.gov/pub/fireplan/fpupload/

3    fpppdf668.pdf. I have attached a true and correct copy as Exhibit 18.
4           22.     In February 2019,1 accessed from CAL FIRE the 2008 Edition ofthe Power Line

5    Fire Prevention Field Guide at the following web address:

6    http://cdfdata.fire.ca.gov/pub/fireplan/ ^upload/fppguidepdfl26.pdf. I have attached a true and
7    correct copy as Exhibit 19.

8           23.     In February 2019,1 accessed from CAL FIRE the 1996 State of California Fire

9    Plan at the following web address: http://cdfdata.fire.ca.gov/pub/fireplan/^upload/^ppdf32.pdf. I
10   have attached a true and correct copy as Exhibit 20.,

11          24.     In February 2019,1 accessed from the CPUC a webpage titled "CPUC Fire Safety
12   Rulemaking Background" at the following web address: http://www.cpuc.ca.gov/firethreatmaps/.
13   I have attached a true and correct copy as Exhibit 21.

14          25.     In February 2019,1 accessed from the CPUC website CPUC Decision 16-05-036 at

15   the following web address:

16   http://docs.cpuc.ca.gOv/PublishedDocs/Published/G000/M162/K550/ 162550016.PDF. I have
17   attached a true and correct copy as Exhibit 22.

18          26.     In February 2019,1 accessed from CAL FIRE a Fact Sheet regarding "California's

19   Fire Hazard Severity Zones: California Department of Forestry and Fire Protection Office ofthe
20   State Fire Marshall", at the following web address:

21   http://osfm.fire.ca.gOv/codedevelopment/pdfrWildfire%20Protection/FHSZ%202007%20fact%20s

22   heet.pdf. I have attached a true and correct copy as Exhibit 23.
23          27.     In February 2019,1 accessed from CAL FIRE the November 7, 2007 Fire Hazard
24   Severity Zones Map at the following web address: http://frap.fire.ca.gov/webdata/maps/statewide/
25   fhszs_map.pdf. I have attached a true and correct copy as Exhibit 24.
26          28.     On February 28,2019,1 accessed Cal OES, which makes available to the public for
27   free a searchable database where someone can type in their address and find out if they reside in a
28   fire hazard severity zone, access here: http://www.myhazards.caloes.ca.gov/. I entered the CAL

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 1 FIRE origin points for each North Bay Fire and the Camp Fire. My research uncovered the
 2 following: All but two North Bay Fires started in areas identified in 2007 as fire hazard zones. The
 3 only two North Bay Fires that did not start in an area identified as a fire hazard were Potter and
 4 Sullivan. In regard to Potter and Sullivan, their respective origins are less than five miles away from
 5 very high hazard severity zones. Seven North Bay Fires started in areas identified in 2007 as "very
 6 high" fire hazard severity zones, including the Nuns Complex,. Cascade, Cherokee, Lobo,
 7 McCourtney, Pocket, and Point. Four started in areas identified as "high" fire hazard severity,
 8 including Atlas, La Porte, Honey, and Sulphur. All three of the most destructive and deadly fires in
 9 the past two years where it has been alleged that PG&E is at fault, i.e. the Tubbs, Nuns and Camp
10 Fires, started less than one mile away from a "very high" fire hazard severity zone. The Nuns
11 Complex Fire started in a "very high" fire hazard severity zones. And the Tubbs Fire and Camp Fire
12 started within less than half-a-mile of a "very high" fire hazard severity zone.
13          28.       In February 2019, I accessed from CAL FIRE "Frequently Asked Questions: Fire
14 Hazard          Severity       Zones"         at       the         following       web        address:
15 http://www.fire.ca.gov/fire_prevention/downloads/Doc_7_FAQs_ALL.pdf. I have attached a true
16 and correct copy as Exhibit 25.
17          29.    In February 2019, I accessed from the CPUC a press release titled "CPUC Approves
18 Witch,     Rice,    and    Guejito    Fire   Settlements"     at    the   following    web    address:
19 http://docs.cpuc.ca.gov/PubiishedDocs/WORD_PDF/NEWS_RELEASE/116819.PDF.                       I   have
20 attached a true and correct copy as Exhibit 26.
21          I declare under penalty of perjury that the foregoing is true and correct of my own personal
22 knowledge. Executed this 28th day of February 2019 at Burlingame, California.
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